     Case 2:05-cr-00346 Document 534 Filed on 03/25/08 in TXSD Page 1 of 2


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA,                          §
     Plaintiff/Respondent,                         §
                                                   §
V.                                                 §           CR. No. C-05-346 (2)
                                                   §           C.A. No. C-08-90
STEVE ALLEN LOPEZ,                                 §
     Defendant/Movant.                             §

                        ORDER FOR RESPONDENT TO ANSWER
                      AND ORDER ALLOWING MOVANT TO REPLY

       On March 21, 2008, the Clerk received Movant Steve Allen Lopez’s (“Lopez”) motion to

vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255. (D.E. 533.) Although the motion

appears to be untimely, Lopez had previously requested an extension of time to file a § 2255 motion.

(D.E. 530.) The Court denied that motion, noting that it was without jurisdiction to consider

Lopez’s motion for extension or for tolling without a § 2255 motion before it. (See D.E. 531 at 2

(citing authority).) Now that Lopez has filed his § 2255 motion, however, the Court will construe

his grounds listed in that prior motion (D.E. 530) as his explanation as to why his § 2255 motion

should be deemed timely.

       It is now ORDERED that the United States answer the § 2255 motion (including responding

to Lopez’s request for tolling) not later than sixty days after the entry of this Order.

       It is further ORDERED that the United States provide, at the time of its answer, transcripts

of all pertinent proceedings that are not already part of the record. Relevant affidavits, if any, are

also to be filed with the answer.




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     Case 2:05-cr-00346 Document 534 Filed on 03/25/08 in TXSD Page 2 of 2


       Pursuant to Rule 5(d) of the RULES GOVERNING SECTION 2255 PROCEEDINGS FOR THE

UNITED STATES DISTRICT COURTS (2007), Lopez may file a reply not later than thirty days after

service of the government’s answer.



       It is so ORDERED this 25th day of March, 2008.



                                          ____________________________________
                                                     Janis Graham Jack
                                                 United States District Judge




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